                                                                                                   F:LED
                           IN THE UNITED STATES DISTRICT COURT                                CHARLOπ E,NC
                    FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION                                             MAY ‑72015
                                                                                          US D:STR:CT CouRT
                                    CRIⅣ IINAL NO.:3:1 5cr24¨ RJC                       WESTERN DISTR:CT oF NC
UNITED STATES OF AMERICA,

                        Plaintifl
                                                                    CONSENT ORDER AND
        V.                                                       JUDGヽ 4ENT OF FOttEITURE
                                                                   PENDING RULE 32.2(c)(2)
(13)RODNEY SMITH,
                        Defendant.



        BASED UPON the Defendant's plea of guilty and finding that there is a nexus between
the property  listed below and the ofl'ense(s) to rnhich the Defendant has pled guilty and that the
Defendant (or any combination of Defendants in this case) has or had a possessory interest or
other legal interest in the property, IT IS HEREBY ORDERED THAT:

        1.      The fbllowing property is forfeited to the United States pursuant to 21 U.S.C. {i
853 and/or 28 U.S.C. $ 2a6l(c). provided. however, that forfeiture of specitic assets is subjectto
any and all third party petitions under 21 U.S.C. $ 853(n), pending final adjudication herein:

        One Cobra Model CA-380 pistol, serial number CP076173 and ammunition

        2. The United States Marshals Service, the investigative agency. and/or the agency
contractor is authorized to take possession and maintain custody of the above specific asset(s).

        3.      If and to the extent required by Fed. R. crim. P.32.2(b)(6),21u.s.c. g 853(n),
and./or other applicable law, the United States shall publish notice and provide direct written
notice of forfeiture.

        4.      Any person, other than the Defendant, asserting any legal interest in the property
may, within thirty days of the publication of notice or the receipt of notice, whichever is earlier,
petition the court fbr a hearing to adjudicate the validity of the alleged interest.

        5. Pursuant to Fed. R. Crim. P.32.2(b)(3). upon entry of this order, the United States
Attorney's office is authorized to conduct any discovery needed to identif,i, locate, or dispose of
the property, including depositions, interrogatories, and request fbr production of documents. and
to issue subpoenas pursuant to Fed. R. Civ. P. 45.

        6.      As to any specific assets, following the Court's disposition of all timely petitions,
a linal order of fbrfeiture shall be entered. If no third party files a timely petition, this order shall




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    beconre the final order of forfeiture. as provided by Fed. R. Crim. P.32.2(c)(2), and the United
    States shall have clear title to the property, and shall dispose of the property according to law.

             The parties stipulate and agree that the aforementioned asset(s) constitute property
    derived from or traceable to proceeds of Defendant's crime(s) herein or property ur"d in uny
    manner to facilitate the commission of such ofTense(s) and are therefore subject to forfbiture
    pursuant to 2l U.S.C. $ 853 and/or 28 U.S.C. $ 2a61(c). The Def-endant hereby waives the
    requirements of Fed. R. Crim. P . 32.2 and 43(a) regarding notice of the forfeiture in the charging
    instrument, announcement of the forfeiture at sentencing, and incorporation of the forfeituri in
    the judgment against Defendant. If the Defendant has previously submitted a claim in response
    to an administrative fbrfeiture proceeding regarding any of this property, Defendant hereby
    withdraws that claim. If Defendant has not previously submitted such a claim, Defendant hereby
    waives all right to do so. As to any firearms listed above and/or in the charging instrumeni,
    Defendant consents to destruction by f'ederal, state, or local law enforcement authorities upon
    such legal process as they. in their sole discretion deem to legally sufficient, and waives any and
    all right to further notice of such process or such destruction.


    ЛLL   WESTMOuLAND ROSE
               lTED STATES ATTORNEY


              。WASHINGTON                                RODNE
存   Assistant United States Attorney                     Defendant




                                                         RANDOLP         .LEE,ESQ.
                                                        Attorney fbr Defendant




                      --fAo", of May, 2015.
    Signed this the




                                                 WITED STATES A4AC:多 τでAfE                   JUDGE




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